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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                                 No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.


                      JOINT MOTION TO AMEND THE COURT’S
                  ORDER SETTING PRETRIAL DATES AND DEADLINES

         1.      On February 26, 2024, the Court granted in part and denied in part the parties’ Joint

  Proposal Regarding Revised Briefing Schedule for All Pretrial Dates and Deadlines, setting forth

  various pretrial deadlines. ECF No. 547.

         2.      At the June 7, 2024 hearing, the Court granted Google LLC’s Motion to Dismiss

  the United States’ Damages Claim as Moot and to Strike the Jury Demand, dismissing Count V of

  Plaintiffs’ Amended Complaint as moot and striking plaintiffs’ jury demand, thereby converting

  this proceeding to a bench trial. See ECF No. 749.

         3.      In light of that development, as well as changes to the summary judgment oral

  argument schedule, the Court granted the parties leave to negotiate a revised proposed pretrial

  schedule. June 14, 2024 Hr’g Tr. 22:22-23:5, ECF No. 799; see also June 7, 2024 Hr’g Tr. 36:22-

  25, ECF No. 747.

         4.      The parties have met and conferred, and jointly propose the following revised

  schedule for various pretrial dates and deadlines:




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                                                       Original Deadline   Proposed Revised
                      Event
                                                        (ECF No. 547)          Deadline
   Parties exchange and file witness lists,
                                                         June 28, 2024       July 5, 2024
   exhibit lists, and deposition designations.
   Any party proposing to use any confidential
   documents or confidential deposition
   testimony of third parties must notify the            June 28, 2024       July 5, 2024
   third party that their documents or
   deposition testimony has been listed for use
   at trial.
   Parties exchange and file objections to
   witness lists, exhibit lists, and deposition
                                                         July 12, 2024       July 19, 2024
   designations and exchange counter-
   designations.
   Parties exchange and file objections to
   counter-designations and exchange reply                                   July 26, 2024
   (“fairness”) designations.
   Any party or non-party who objects to the
   public use of confidential documents or
   testimony must file a specific objection with         July 19, 2024       July 26, 2024
   a proposed acceptable redaction of the
   information.
   Parties exchange and file objections to reply                             July 31, 2024
   (“fairness”) designations.
   Parties exchange stamped copies of trial                                 August 2, 2024
   exhibits.
   All objections to a party’s or a non-party’s
   proposed redactions or to the use of                  July 26, 2024      August 2, 2024
   confidential information in any respect must
   be filed.
   Oral argument, if needed, to address
   treatment of confidential information in             August 2, 2024      August 9, 2024
   exhibits or deposition designations.
   Deadline for parties to meet and confer                                  August 9, 2024
   regarding motions in limine
   Deadline to file all motions in limine,
   motions to address unresolved issues                 August 9, 2024     August 16, 2024
   concerning deposition designations, and any
   other pretrial matter.
   Parties file Proposed Findings of Fact and                              August 19, 2024
   Conclusions of Law




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                                                        Original Deadline        Proposed Revised
                       Event
                                                         (ECF No. 547)               Deadline
   Deadline for oppositions to all motions in
   limine, motions to address unresolved issues          August 16, 2024          August 23, 2024
   concerning deposition designations, and any
   other pretrial matter.
   Deadline for reply briefs to all motions in
   limine, motions to address unresolved issues          August 23, 2024          August 28, 2024
   concerning deposition designations, and any
   other pretrial matter.
   Oral argument for all motions in limine,
   motions to address unresolved issues                 September 4, 2024        September 4, 2024
   concerning deposition designations, and any
   other pretrial matter.

         5.       The revised proposed schedule reflects slight adjustments to the pretrial schedule,

  moving deadlines back by one week or less. Additionally, the parties propose several deadlines

  not reflected in the Court’s February 26 Order, including deadlines for preparing fairness

  designations, exchanging stamped copies of trial exhibits, and meeting and conferring regarding

  motions in limine.

         6.      The September 9, 2024 trial date is not affected by the parties’ proposed revised

  schedule.

         7.      The parties submit that good cause exists to amend the Court’s Order setting pretrial

  dates and deadlines, as the parties have proceeded diligently in this matter, no party will be

  prejudiced by the requested relief, and the requested relief will not affect the trial start date. See

  generally Roe v. Howard, No. 1:16-cv-562, 2017 U.S. Dist. LEXIS 187258, *1-2 (E.D. Va. June

  30, 2017).

         8.      The parties have met and conferred regarding the relief requested herein, and both

  Google and Plaintiffs join in this motion.




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   Dated: June 21, 2024

   Respectfully submitted,

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